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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


-------------------------------------------------------------------X
DELTA HILL (DETA),                                                 :
                                                                   :
                                    Plaintiff,                     :
                  v.                                               :
                                                                   :   Civil Action No.: 1:22-cv-01397
STEPHEN KNOTT, WILLIAM ASHE, and ILA,                              :
                                                                   :
                                    Defendants.                    :
                                                                   :
-------------------------------------------------------------------X




              MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
              INTERNATIONAL LONGSHOREMEN’S ASSOCIATION’S
                  MOTION TO DISMISS UNDER RULE 12 (b)(6),
                         OR, IN THE ALTERNATIVE,
          FOR A MORE DEFINITE STATEMENT PURSUANT TO RULE 12(e);
                 AND ALSO IN SUPPORT OF STEPHEN KNOTT’S
                MOTION TO DISMISS PURSUANT TO RULE 12(b)(6)




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Longshoremen’s Association                               Longshoremen’s Association
and Stephen Knott                                        and Stephen Knott
Pro Hac Vice Pending
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


 -------------------------------------------------------------------X
 DELTA HILL (DETA),                                                 :
                                                                    :
                                     Plaintiff,                     :
                   v.                                               :
                                                                    :   Civil Action No.: 1:22-cv-01397
 STEPHEN KNOTT, WILLIAM ASHE, and ILA,                              :
                                                                    :
                                     Defendants.                    :
                                                                    :
 -------------------------------------------------------------------X


                 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
                 INTERNATIONAL LONGSHOREMEN’S ASSOCIATION’S
                     MOTION TO DISMISS UNDER RULE 12 (b)(6),
                            OR, IN THE ALTERNATIVE,
             FOR A MORE DEFINITE STATEMENT PURSUANT TO RULE 12(e);
                    AND ALSO IN SUPOORT OF STEPHEN KNOTT’S
                   MOTION TO DISMISS PURSUANT TO RULE 12(b)(6)


                                             INTRODUCTION

           Defendant International Longshoremen’s’ Association (ILA) now moves to dismiss

Plaintiff Delta Hill’s pro se complaint pursuant to Rule 12(b)(6) because the complaint does not

comply with Rule 8(a)(2) or (3), and therefore does not state a claim upon which relief can be

granted. In the alternative, the ILA seeks an order pursuant to Rule 12(e) requiring Plaintiff to

make a more definite statement.

           Separately, Defendant Stephen Knott moves pursuant to Rule 12(b)(6) for an order to

dismiss the complaint against him with prejudice, on the grounds that he cannot be held

individually liable as a matter of law.




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           Hill commenced this action pro se in the State of Delaware, Superior Court of New Castle

County on September 16, 2022. The Defendants then timely removed to this Court on October

24, 2022.

                                              BACKGROUND

           Plaintiff alleges that she was a member of ILA Local 1694-1 which was merged into

another ILA local. Plaintiff alleges that the ILA Constitution required a meeting before the

merger, but no such meeting was ever held. In this regard, Plaintiff appears to be trying to bring

a claim for breach of the ILA Constitution under Section 301 of the Labor Management Relations

Act (LMRA), 29 U.S.C. § 185.

           In addition, Plaintiff further alleges that her bargaining unit “was given a contract” to which

she and others objected, but allegedly when they raised this objection in writing to ILA Secretary

Treasurer Stephen Knott she received no response. These allegations appear to be an attempt to

state a duty of fair representation (DFR) claim.

                                      SUMMARY OF ARGUMENT

           The Complaint consists of 48 pages of various correspondence, handwritten notes, exhibits

and excerpts of purported exhibits. 1 This memorandum will establish the following. First,

individual union officers—whether sued in their “personal” or “official” capacities—cannot be

held liable for any alleged breach of a union constitution or alleged breach of the DFR. Second,

Plaintiff’s Complaint violates Rules 8(a) by failing to disclose the facts underlying the claims for

relief, failing to disclose what claims the Complaint seeks to allege, and failing to state what

remedy the Complaint seeks, requiring dismissal of the Complaint for failure to state a claim.


1 Because Hill has not numbered the pages in her Complaint, the ILA will refer to pages in the Complaint by their
Page ID# in the electronic filing system.

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                                      STANDARD OF REVIEW

           Pursuant to Fed. R. Civ. P. 12(b)(6), the Court must accept a complaint’s factual allegations

as true and draw all reasonable inferences in the plaintiff’s favor. Bell Atl. Corp. v. Twombly, 550

U.S. 544, 555-56 (2007). However, “the tenet that a court must accept as true all of the allegations

contained in a complaint is inapplicable to legal conclusions.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009). Plaintiffs must then instead allege facts that “nudge [their] claims across the line

from conceivable to plausible[.]” Twombly, 550 U.S. at 569.

           Also, Federal Rule of Civil Procedure Rule 12(e) provides as follows:

                  A party may move for a more definite statement of a pleading to
                  which a responsive pleading is allowed but which is so vague or
                  ambiguous that the party cannot reasonably prepare a response.
                  The motion must be made before filing a responsive pleading and
                  must point out the defects complained of and the details desired.

Fed. R. Civ. P. 12(e). Courts will grant 12(e) motions where the complaint does not afford

defendants adequate notice of the claims against them or the ability to form a responsive pleading.

See Wright v. O’Hara, No. CIV.A. 00–1557, 2002 WL 1870479, at *2-3 (E.D. Pa. Aug. 14, 2002).

Rule 12(e) has likewise been interpreted to apply where the pleading is unintelligible or the issues

cannot be determined. Shahin v. Del. Dep’t of Fin., No. 10-188-GMS, 2011 WL 2470582, at *3

(D. Del. June 21, 2011) (citing cases).

                                             ARGUMENT

                                                    I.

                       EVEN IF THE COMPLAINT IS RESTATED,
                 DEFENDANT KNOTT CANNOT BE INDIVIDUALLY LIABLE

           The Complaint seems to allege a claim under § 301 of the LMRA that the ILA violated its

own constitution when certain local unions were merged. The complaint further appears to allege


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a violation of the duty of fair representation (DFR) when the local collective bargaining agreement

was negotiated. ECF 1-1, #31, #33-34. The complaint does not make clear who was responsible

for negotiating the contract, but it states that the ratification vote took place at a local union

meeting.      Id.   Specifically, the complaint makes no allegations linking the ILA with local

negotiations taking place in the port of Delaware. The complaint does allege that, after the

contract was negotiated, various members wrote an appeal to the ILA, including to Stephen Knott,

but received no response. ECF 1-1, #11.

           The duty of fair representation is derived from the statutory grant in 29 U.S.C. § 159(a) of

the exclusive power to represent all employees in the collective bargaining unit. See Vaca v.

Sipes, 386 U.S. 171 (1967). “Under federal common law, unions owe their members a duty of

fair representation (‘DFR’), which derives ‘from the union’s statutory role as exclusive bargaining

agent.’” Dillard v. SEIU Local 32BJ, No. 15 CIV. 4132 CM, 2015 WL 6913944, at *4 (S.D.N.Y.

Nov. 6, 2015) (quoting Air Line Pilots Ass’n Int’l v. O’Neill, 499 U.S. 65, 74 (1991)).

           However, “[a]n official of a union in his individual capacity has no such power, [and] it

follows that there [is] no such correlative duty [of fair representation].” Hall v. Pac. Mar. Ass’n,

281 F. Supp. 54, 61 (N.D. Cal. 1968) (citing Humphrey v. Moore, 375 U.S. 335, 342 (1964)).

           Numerous federal courts have held that individual union officers are immune from DFR

claims. See, e.g., Fowlkes v. Ironworkers Local 40, 790 F.3d 378, 388 n.10 (2d Cir. 2015); Morris

v. Local 819, Int’l Bhd. of Teamsters, 169 F.3d 782, 784 (2d Cir. 1999); Montplaisir v. Leighton,

875 F.2d 1, 4 (1st Cir. 1989); see also Evangelista v. Inlandboatmen’s Union, 777 F.2d 1390, 1400

(9th Cir. 1985); Ramsey v. Signal Delivery Serv., Inc., 631 F.2d 1210, 1212 (5th Cir. 1980); Calvo

v. Avers, Civ. No. 16-02783 (KM) (MAH), 2017 WL 385037, at *4 (D.N.J. Jan. 26, 2017) (union

officials held immune from DFR claim); Cantrell v. Igie, No. 16-cv-00903 (JGK), 2016 WL

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7168220, at *4-5 (S.D.N.Y. Dec. 8, 2016) (“[P]laintiff’s claim for breach of the duty of fair

representation is properly directed at the Union, not any of its representatives. Accordingly, the

claims against the Individual Union Defendants are dismissed.”); Romero v. Local Union 272, No.

1:15-cv-7583-GHW, 2016 WL 5376210, at *10-11 (S.D.N.Y. Sep. 23, 2016) (breach of DFR

cannot be alleged against union official); LaFauci v. St. John’s Riverside Hosp., 381 F. Supp. 2d

329, 334 (S.D.N.Y. 2005) (same); Franklin v. Nat’l Mar. Union, No. Cir. A. 91-480, 1991 WL

131182, at *4 (D.N.J. July 16, 1991) ( “the language of § 301(b) and the Supreme Court’s decision

in Atkinson. . . provide[s] a shield for individual union. . . officials” in DFR suits and is in line with

the other Circuit Courts which have considered the issue “with monotonous regularity. . .”). Thus,

Hill cannot hold Knott individually liable for any violation of the DFR.

           Likewise, with respect to the alleged breach of the ILA Constitution, the complaint does

not even specifically allege that Knott was involved in the alleged breach. Regardless, the Third

Circuit has held that individual union officers are also immune from Section 301 claims. E.g.,

Wilkes–Barre Pub. Co. v. Newspaper Guild of Wilkes–Barre, Local 120, 647 F.2d 372, 377 (3d

Cir. 1981) (Section 301 of the LMRA “immunizes the individual [union] defendants from liability

for money damages.”); Republic Steel Corp. v. United Mine Workers, 570 F.2d 467, 478 (3d

Cir.1978) (same).

           To the extent Hill’s Complaint alleges a violation of the DFR, or a violation of the ILA

Constitution against the ILA, it cannot allege one against Knott individually. Moreover, even a

more definite statement on either claim cannot state a claim against Knott individually, so even if

Plaintiff is allowed to replead her claims against the ILA, Knott must be dismissed with prejudice.




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                                                 II.

                THE CLAIMS AGAINST THE ILA MUST BE DISMISSED, OR,
                     IN THE ALTERNATIVE, THE ILA IS ENTITLED
                          TO A MORE DEFINITE STATEMENT
                   OF THE ALLEGATIONS WITHIN THE COMPLAINT

           Federal Rule of Civil Procedure 8(a) requires that a complaint contain a “short, plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a). When

a complaint fails to allege specific acts or omissions on the part of the defendant, courts will often

dismiss the claim, or at least grant a defendant’s motion under Rule 12(e). Thomas v. Indep. Twp.,

463 F.3d 285, 301 (3d Cir. 2006) (motion for a more definite statement granted and is appropriate

“[w]hen a complaint . . . does not disclose the facts underlying a plaintiff's claim for relief,

[because] the defendant cannot reasonably be expected to frame a proper, fact-specific . . .

defense.”); see also Holmes v. Colonial Sch. Dist., No. 09-795-GMS, 2010 WL 4918721 at *1 (D.

Del. Nov. 24, 2010) (granting motion for a more definite statement where pro se plaintiff “fail[ed]

to comply with the pleading requirements of Rule 8” by “fail[ing] to identify factual allegations in

support of a claim [and] the relief being requested. . . .”); Gross v. Weinstein, Weinburg & Fox,

LLC, 123 F. Supp. 3d 575 (D. Del. 2015), (12(e) motion granted where party failed to meet the

pleading requirements of Rule 8).

           A motion for a more definite statement is “the best procedural tool available to the

defendant to obtain the factual basis underlying a plaintiff's claim for relief.” Thomas, 463 F.3d

at 301. This concept applies to pro se complaints brought by union members against their unions.

DiGenova v. UNITE HERE Local 274, 849 F. App’x 331, 334 (3d Cir. 2021) (affirming District

of New Jersey’s order directing pro se union member to plead with additional specificity allegation

that union violated its collective bargaining agreement); Jackson v. A.P. Orleans Vocat’l Ctr., No.


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87- 7160, 1988 WL 68734, at *2 (E.D. Pa. June 27, 1988) (granting union defendant’s motion

under Rule 12(e) where it was not clear as to whether the plaintiff was alleging a violation of Title

VII, the Labor Management Relations Act, or both.). The decision whether to grant or deny a

defendant’s motion for a more definite statement rests within the sound discretion of the court.

Holmes, 2010 WL 4918721 at *1.

           The Complaint in this case consists of 48 pages containing various letters and

correspondence from other matters, handwritten notes, unidentified documents, and incomplete

exhibits purporting to support the Complaints’ allegations. The Complaint contains no counts

against any defendant. Fed. R. Civ. P. 8(a). While Hill may be attempting to allege a violation

of the duty of fair representation by Defendant Ashe, see ECF 1-1, # 33-34, it is not clear what the

facts underlying this allegation are or where those factual allegations appear within the Complaint

or the various partial exhibits annexed to the Complaint.

           There are no specific references to any action by Defendant ILA, Defendant Knott, or any

other ILA officials on the handwritten letters or typewritten pages of the Complaint. Indeed, the

Complaint is wholly unclear as to what causes of action Hill has alleged against Knott or the ILA

as the Complaint alleges no Counts identified as to any Defendant.

           There are also contradictory allegations throughout the Complaint. The Complaint alleges

at one point that Hill has been without a contract in her local port since 2018, ECF 1-1, # 17, but

then alleges that a contract was agreed to later on that same page and later on in the document. Id.,

ECF 1-1 #33-34. It is likewise unclear whether Hill is contesting the merger of her local union

with the other local ILA-affiliated unions throughout the Port of Wilmington or contesting the

collective bargaining agreement that would cover the terms of working conditions for the

bargaining unit represented by those local unions, or both.

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           Further, Hill only attaches cover pages or excerpts of exhibits which purportedly support

the Complaint’s allegations, making it impossible to determine how those exhibits support Hill’s

allegations. See ECF 1-1, # 19-31. It appears further that many of the purported exhibits have

been omitted from the Complaint completely and that certain exhibits are inserted into the middle

of others. #19-31, 38-51. Finally, it is impossible to ascertain what relief Hill seeks from the

Defendants because the Complaint lacks any prayer for relief whatsoever. Fed. R. Civ. P. 8(a)(3).

                                           CONCLUSION

           Because the Complaint violates Rule 8(a), the Complaint is so vague and ambiguous that

Defendant ILA cannot reasonably prepare its defenses.             For these reasons, Defendant ILA

requests that this Court dismiss the complaint for its violations of Rule 8(a), or, in the alternative,

grant the ILA’s motion for a more definite statement.


Dated:      New York, New York
            November 1, 2022
                                        Respectfully submitted,

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 Longshoremen’s Association                            and Stephen Knott
 and Stephen Knott
 Pro Hac Vice Pending




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                                 CERTIFICATE OF SERVICE

           I, Lance Geren, certify that on November 1, 2022, the foregoing document was filed

electronically with the Clerk of the Court and served by first-class mail upon Plaintiff “Delta Hill

(Deta)” and Delaware District Court.


                                                     _/s/ Lance Geren_____________
                                                     Lance Geren




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